Case 2:11-cv-02389-SJO-SS Document 322 Filed 03/27/14 Page 1 of 3 Page ID #:12983




     1
     2
     3
     4
     5
     6
     7                          UNITED STATES DISTRICT COURT
     8                     CENTRAL DISTRICT OF CALIFORNIA
     9                               WESTERN DIVISION
    10
    11    KANEKA CORPORATION,                  Case No. 2:11-CV-2389-MRP (SSx)
    12             Plaintiff,
    13        v.                               JUDGMENT
    14    ZHEJIANG MEDICINE CO., LTD.,
    15    ZMC-USA, L.L.C., XIAMEN
    16    KINGDOMWAY GROUP
    17    COMPANY, PACIFIC RAINBOW
    18    INTERNATIONAL INC.,
    19    MITSUBISHI GAS CHEMICAL
    20    COMPANY, INC., MAYPRO
    21    INDUSTRIES, INC., and
    22    SHENZHOU BIOLOGY &
    23    TECHNOLOGY CO., LTD.,
    24             Defendants.
    25
    26
    27
    28

                                             -1-
Case 2:11-cv-02389-SJO-SS Document 322 Filed 03/27/14 Page 2 of 3 Page ID #:12984




     1      The Court, having (1) granted-in-part Defendants Xiamen Kingdomway Group
     2   Company (“XKGC”) and Pacific Rainbow International Inc.’s (“PRI”) Motion for
     3   Summary Judgment of Noninfringement of U.S. Patent No. 7,910,340 (“’340
     4   Patent”) on December 6, 2013 (Dkt. No. 310); (2) granted-in-part Defendant
     5   Shenzhou Biology & Technology Co., Ltd.’s (“Shenzhou”) Motion for Summary
     6   Judgment of Noninfringement of the ’340 Patent on December 6, 2013 (Dkt. No.
     7   311); (3) denied Plaintiff Kaneka Corporation’s (“Kaneka”) Motion for Summary
     8   Judgment of Validity of the ’340 Patent as moot and dismissed the counterclaims
     9   of Shenzhou, XKGC, and PRI (hereinafter collectively referred to as
    10   “Defendants”) for a Declaratory Judgment of Invalidity of the ’340 Patent and a
    11   Declaratory Judgment of Unenforceability of the ’340 Patent as moot on February
    12   24, 2014 (Dkt. No. 313); and (4) granted Kaneka’s Motion for Summary Judgment
    13   Dismissing XKGC’s Counterclaims Three Through Nine on February 25, 2014
    14   (Dkt. No. 314),
    15      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:
    16      1. Kaneka’s Amended Complaint, and each and every claim alleged therein, is
    17   dismissed with prejudice as to Shenzhou, XKGC, and PRI;
    18      2. Defendants’ counterclaims for Declaratory Judgment of Invalidity and
    19   Unenforceability of the ’340 Patent are dismissed without prejudice as moot;
    20      3 Judgment is entered in favor of Shenzhou, XKGC, and PRI, and against
    21   Kaneka, as to the Amended Complaint;
    22      4. Kaneka shall recover nothing in this action as to Shenzhou, XKGC, and PRI;
    23   and
    24      5. Shenzhou, XKGC, and PRI shall be entitled to recover their costs pursuant
    25   to the procedures set forth in Local Rule 54-1 through 54-9.
    26
    27
    28

                                                 -2-
Case 2:11-cv-02389-SJO-SS Document 322 Filed 03/27/14 Page 3 of 3 Page ID #:12985




     1     IT IS SO ORDERED.
     2
     3   DATED: March 27, 2014             _______________________________
     4                                     Hon. Mariana R. Pfaelzer
                                           United States District Judge
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                             -3-
